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                                               April 14, 2021

US District Court Clerk’s Office
District of Columbia
333 Constitution Avenue N.W.
Washington D.C. 20001

                Re:    USA v. Witzemann
                Your Case No. 1:21-mj-00348
                New Mexico Case No. 21mj446 SCY

To Whom it May Concern:

       The above numbered case has been ordered removed to your District pursuant to a Commitment
Order by this Court. Shawn Bradley Witzemann appeared in our district, waived identity, and was
committed to your district for further proceedings.

         You may access electronically filed documents in this case at our ECF/PACER web address
http://ecf.nmd.uscourts.gov. Any documents not available electronically are enclosed in paper format.

        Please acknowledge receipt of this letter by returning the enclosed copy to this district.

                                                  Sincerely,

                                                  MITCHELL R. ELFERS
                                                  Clerk of Court

                                                  Elizabeth Hernandez
                                                  By: Elizabeth Hernandez
                                                  Deputy Clerk
